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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,
                       Plaintiff,
vs.
MICHAEL NISSEN,
                      Defendant.                                No. 19-cr-00077-JB


       UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

           COMES NOW the Defendant, Michael Nissen, by and through his attorney,

Susan M. Porter, and respectfully moves this Court to continue the sentencing hearing in

this matter that is currently set for December 13, 2019. As grounds for this motion,

Defendant states as follows:

        1.      On September 17, 2019, Ms. Porter was appointed as counsel to represent

 Mr. Nissen in all post-trial proceedings.

        2.      In order to effectively represent Mr. Nissen at sentencing, on or about

 September 20, 2019, counsel requested a transcript of the trial testimony.

        3.      Counsel did not receive the requested transcripts until the late afternoon of

 December 5, 2019.

        4.      Counsel for defendant needs additional time to read the trial transcripts,

 write a sentencing memo, potentially make objections to the presentence report and

 address the government’s objections to the presentence report.

        5.      Assistant United States Attorney Paul Mysliwiec does not oppose this

 motion.
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        6.      United States Probation Officer Michael Bartholomew does not oppose this

 motion.

       WHEREFORE, Defendant Michael Nissen respectfully requests that this Court

 continue the sentencing hearing that is currently set for December 13, 2019 and reset it

 for a date on or after January 18, 2020.

                                            Respectfully submitted,

                                              /s/ Susan M. Porter
                                            SUSAN M. PORTER
                                            908 Lomas Blvd. NW
                                            Albuquerque, NM 87102
                                             (505) 312-7742 telephone
                                             (651) 602-3655 facsimile

                                            Attorney for Michael Nissen


I hereby certify that on December 5, 2019,
the foregoing Unopposed Motion to Continue
Sentencing Hearing was filed electronically
through the CM/ECF system, which caused
said motion to be electronically distributed to
all persons entitled to service.

     /s/ Susan M. Porter
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